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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

   CBRE, INC.,

          Plaintiff,

   v.                                                              Case No. 19-cv-61235

   CAPITAL COMMERCIAL REAL ESTATE
   GROUP, INC.

          Defendant.


                                            COMPLAINT

         Plaintiff CBRE, Inc. (“Plaintiff” or “CBRE”), for its complaint against Defendant Capital

  Commercial Real Estate Group, Inc. (“Defendant” or “Capital Commercial”), alleges as follows:

                                     NATURE OF THE ACTION

         1.      This is a civil action for federal trademark infringement, trade dress infringement,

  false designation of origin, and cybersquatting in violation of 15 U.S.C. §§ 1114, 1125(a), and

  1125(d); trade dress infringement and unfair competition in violation of the common law of the

  State of Florida; and statutory deceptive and unfair trade practices in violation of the Florida

  Deceptive and Unfair Trade Practices Act (“FDUTPA”), Fla. Sta. §§ 501.201 et seq.

                                               PARTIES

         2.      Plaintiff CBRE is a corporation organized and existing under the laws of the State

  of Delaware with its principal place of business at 400 S. Hope Street, 25th Floor, Los Angeles,

  CA 90071.

         3.      On information and belief, Defendant Capital Commercial is a corporation

  organized and existing under the laws of the State of Florida with its principal place of business at

  7605 Davie Road Extension, Davie, FL 33024. The Florida Department of State, Division of


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  Corporations’ records identify Randy North as Capital Commercial’s registered agent and provide

  a residential address as the location for service.

                                     JURISDICTION AND VENUE

          4.      CBRE’s trademark claims arise under the Trademark Act of 1946 (the “Lanham

  Act”), as amended by the Trademark Dilution Revision Act of 2006. Accordingly, this Court has

  subject matter jurisdiction over these claims pursuant to 28 U.S.C. § 1331 (federal question) and

  15 U.S.C. § 1121 (Lanham Act).

          5.      This Court has pendent and supplemental jurisdiction over all related state law

  claims in accordance with 28 U.S.C. §§ 1338(b) and 1367 because the state law claims involve

  unfair competition, arise from the same nucleus of operative facts as the federal law claims, and

  are so related to the federal law claims that they form part of the same case and controversy.

          6.      This Court has personal jurisdiction of the Defendant because Defendant is

  incorporated in this district, maintains a principal place of business in this district, conducts

  continuous and systematic business activities in this district, and a substantial portion of

  Defendants’ acts giving rise to CBRE’s claims occurred in this district.

          7.      Venue is proper in the Southern District of Florida under 28 U.S.C. § 1391 because

  Defendant resides in this district and a substantial part of the events giving rise to CBRE’s claims

  occurred in this district.

                                      FACTUAL ALLEGATIONS

                                CBRE and its Registered Trademarks

          8.      With over 90,000 employees, Plaintiff CBRE is the world’s largest commercial real

  estate services and investment firm. CBRE has been named one of Fortune’s “Most Admired

  Companies” for seven years in a row, including a number one ranking in the real estate sector in



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  2019. Lipsey—a renowned training and consulting firm in the commercial real estate industry—

  recently ranked CBRE as the top real estate brand for an eighteenth consecutive year. CBRE

  operates over 200 U.S. offices, including nine in the state of Florida.

         9.      In 1906, the company that is now CBRE began in San Francisco, California. By the

  1940’s it had grown to become one of the largest commercial real estate services companies in the

  western United States. Throughout the 1960’s and 1970’s, CBRE rapidly expanded its real estate

  services portfolio and geographic reach throughout the United States. Shares of CBRE began

  publicly trading in 2004, and the company was subsequently added to the S&P 500 in 2006. Since

  then, through organic growth and acquisitions, CBRE has become the largest real estate services

  company in the world.

         10.     CBRE owns numerous trademark registrations, including the CBRE trademark, for

  a wide-ranging assortment of real estate and financial services. Among these are the following

  U.S. trademark registrations:

         Trademark           Reg. No. /                  Services                 Date of
                             Reg. Date                                           First Use
                           4,161,000    / Capital Investment Consultation        07/2003
                           June 19, 2012 Services; Financial Services In
                                          The Nature Of Commercial And
                                          Multi-Family Mortgage Banking And
   (for the letters “CBRE”                Loan Servicing, Mortgage Brokerage
   in stylized form)                      Services, Investment Consultation
                                          And Investment Management Of
                                          Funds Relating To Real Estate And
                                          Real Estate Companies; Residential
                                          And Commercial Real Estate Agency,
                                          Appraisal, Brokerage, Investment Ant)
                                          Management Services; Financial
                                          Analysis And Consultation Relating
                                          To Real Estate; Financial Valuation
                                          Of Real Estate; Financial Valuation Of
                                          Personal Property, Namely,
                                          Equipment; Financial Portfolio
                                          Management Of Residential And

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                                      Commercial Real Estate; Financial
                                      Research, Management And
                                      Investment In The Area Of Residential
                                      And Commercial Real Estate,
                                      Namely, Research In The Field Of
                                      Acquisition And Disposition Of Real
                                      Estate, And Assets Management,
                                      Namely, Management Of Assets In
                                      The Form Of Real Estate Property,
                                      And Investment And Management Of
                                      Stock In Real Estate Companies That
                                      Hold, Manage, Buy And Sell Real
                                      Estate; Residential And Commercial
                                      Real Estate Facilities Management,
                                      Namely, Leasing Of Real Property, In
                                      Class 36 (U.S. Cls. 100, 101 And
                                      102).

                       2,925,943    / Capital Investment Consultation        11/2002
                       Feb. 8, 2005   Services; Insurance Services, Namely,
                                      Insurance Underwriting And
                                      Consulting Services In The Field Of
                                      Property, General Liability Insurance;
                                      Financial Services In The Nature Of
                                      Commercial And Multi-Family
                                      Mortgage Banking And Loan
                                      Servicing, Mortgage Brokerage
                                      Services, Estate Planning; Investment
                                      Consultation And Investment
                                      Management Of Funds Relating To
                                      Real Estate And Real Estate
                                      Companies; Residential And
                                      Commercial Real Estate Agency,
                                      Appraisal, Brokerage, Investment And
                                      Management Services; Financial
                                      Analysis And Consultation Relating
                                      To Real Estate; Financial Valuation
                                      Of Real Estate; Financial Valuation Of
                                      Personal Property, Namely,
                                      Equipment; Financial Portfolio
                                      Management Of Residential And
                                      Commercial Real Estate; Financial
                                      Research, Management And
                                      Investment In The Area Of Residential
                                      And Commercial Real Estate,
                                      Namely, Research In The Field Of

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                                              Acquisition And Disposition Of Real
                                              Estate, And Assets Management,
                                              Namely, Management Of Assets In
                                              The Form Of Real Estate Property,
                                              And Investment And Management Of
                                              Stock In Real Estate Companies That
                                              Hold, Manage, Buy And Sell Real
                                              Estate; Residential And Commercial
                                              Real Estate Facilities Management,
                                              Namely, Leasing Of Real Property, In
                                              Class 36 (U.S. Cls. 100, 101 And
                                              102).

                             2,925,952    / Residential And Commercial Real            11/2002
                             Feb. 8, 2005   Estate Development; Residential And
                                            Commercial Real Estate Construction
                                            Services, Namely, Planning, Laying
                                            Out And Construction Of Residential
                                            And Commercial Real Estate;
                                            Residential And Commercial Real
                                            Estate Construction Management
                                            Services, In Class 37 (U.S. Cls. 100,
                                            103 And 106).


         11.    These registrations remain in full force and effect. They have each become

  incontestable under 15 U.S.C. § 1065.

         12.    Since at least 2003, CBRE adopted and has used in commerce in the United States

  a unique and distinctive logo for its commercial real estate services that combines the following

  elements: (1) the letters “CBRE” in the distinctive stylized form covered by its U.S. Trademark

  Registration No. 4,161,000; and (2) dark green letters against a white backdrop (or vice versa).

  Examples of the CBRE logo are shown below:




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  Collectively, when referring to marks owned by CBRE, including the registered trademarks and

  logos identified above, these marks are referred to as the “CBRE” brand or trademarks. The CBRE

  trademarks are distinctive, arbitrary, fanciful, and entitled to the broadest scope of protection. True

  and correct copies of U.S. Trademark Registration Nos. 4,161,000, 2,925,943, and 2,925,952 are

  attached hereto as Exhibits A through C, respectively.

         13.     Since at least 2003, CBRE has adopted and used in commerce in the United States

  a unique and distinctive website layout to market its real estate and financial services (hereinafter,

  the “CBRE Trade Dress”) that combines the following elements: (1) the letters “CBRE” in the

  distinctive stylized form covered by its U.S. Trademark Registration No. 4,161,000; (2) dark green

  letters against a white backdrop (or vice versa); (3) white or dark green horizontal banners at the

  top and bottom of its webpage that include white or dark green lettering; and (4) a logo including

  the “CBRE” lettering located in the top banner.

         14.     The CBRE Trade Dress is inherently distinctive, completely arbitrary when applied

  to CBRE’s services, and non-functional. The CBRE Trade Dress is highly unique in the

  commercial real estate marketplace.

         15.     For many years prior to the events giving rise to this Complaint and continuing to

  the present, CBRE has devoted tremendous resources to advertising and promoting its services

  under the CBRE trademarks and Trade Dress. CBRE has used these marks in commerce in the

  United States since 2003. CBRE’s services are advertised in print media and on the Internet that

  is available to the public at large and to commercial real estate professionals and consumers alike.

  Promoting the CBRE brand throughout the United States and Florida, including through extensive

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  sales, publicity, awards, and sustainability initiatives, CBRE has acquired enormous goodwill and

  recognition in its CBRE trademarks and Trade Dress. Consumers of commercial real estate

  services are very familiar with the CBRE trademarks and Trade Dress and their connection to the

  best-in-class services offered by CBRE. As a result, CBRE enjoys the exclusive right to use the

  CBRE trademarks and Trade Dress in the United States in connection with its real estate and

  financial services.

                   Capital Commercial’s Infringement and Deceptive Trade Practices

         16.     Defendant Capital Commercial purports to be a leader in marketing commercial

  real estate and businesses in South Florida. For over a decade, Capital Commercial used the

  domain name “capitalcomgroup.com” to direct customers to the homepage of its website, which

  displayed the name “Capital Commercial Real Estate Group” in white lettering against a blue

  backdrop with images of skyscrapers:

                                            April 2005




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                                 February 2010




                                 February 2015




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                                           January 2019




         17.    Recently, however, Capital Commercial changed its domain name to

  “ccreflorida.com” and incorporated into its website and marketing materials a logo bearing white

  “CCRE” letters against a dark green backdrop, and a logo bearing dark green “CCRE” letters

  against a white backdrop. These logos use very similar—if not identical—coloring schemes and

  fonts to those protected by CBRE’s trademarks and Trade Dress. The strikingly similar nature of

  Capital Commercial’s redesigned materials creates and reinforces consumers associations between

  CBRE and Capital Commercial, despite the two companies having no actual business association.

  The new Capital Commercial logos are featured prominently throughout Capital Commercial’s

  website, in print and online advertisements and signage, and in employment solicitations for real

  estate agents. As Capital Commercial acknowledges, “[b]y utilizing the many marketing sources,

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  we are able to give our listings exposure to the mass market…reaching the majority of potential

  buyers.” See http://www.ccreflorida.com/about-us/.

         18.    For instance, CCRE’s website, as shown in the screenshots below, incorporates the

  following elements: (1) the letters “CCRE” in the distinctive stylized form covered by CBRE’s

  U.S. Trademark Registration No. 4,161,000; (2) white letters against a dark green backdrop; (3) a

  dark green horizontal banner at the top and bottom of the webpage that includes white lettering;

  and (4) a logo including the “CCRE” lettering located in the top banner:




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          19.     In the following advertisement, Capital Commercial uses one of its new copycat

  logos to solicit candidates for potential hire as real estate agents:




          20.     A side-by-side comparison of the CBRE logo and one of Capital Commercial’s new

  logos illustrates the similarities between the respective marks.

                     CBRE Logo                                New Capital Commercial Logo




          21.     In tandem with its logo changes, Capital Commercial changed its domain name

  from “capitalcomgroup.com” to “ccreflorida.com” to increase consumer traffic and direct

  consumers away from the CBRE website to its own website. Capital Commercial recently

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  registered the “ccreflorida.com” domain, as shown in the WHOIS record attached as Exhibit D.

  On its homepage, Capital Commercial lists its contact information by email as

  “info@ccreflorida.com.”

         22.     The website “ccreflorida.com” repeatedly and prominently displays the

  confusingly similar new Capital Commercial logo and additional protected website elements

  without CBRE’s permission. A copy of Capital Commercial’s homepage from the

  “ccreflorida.com” website is attached hereto as Exhibit E. Also, CBRE is a leader in commercial

  real estate activities in Florida, and “ccreflorida.com” and “info@ccreflorida.com” are similar to

  CBRE’s social media name “@cbre_Florida.”

         23.     There is no question that Capital Commercial is well aware of CBRE’s prior rights

  and that it is willfully and wantonly using its new logo and website design as a means to capture

  the goodwill that CBRE has spent many years and millions of dollars developing. On February 7,

  2019, CBRE’s Deputy General Counsel sent a letter to Mr. North—Capital Commercial’s

  registered agent—demanding that Capital Commercial cease its infringing activities, including

  refraining from using the new Capital Commercial logo and new “ccreflorida.com” domain name.

  In its letter, CBRE identified and attached the U.S. Trademark Registration No. 4,161,000, and

  identified the CBRE trade dress that Capital Commercial infringed. The February 7, 2019 letter is

  attached hereto as Exhibit F. Capital Commercial did not respond.

         24.     Accordingly, CBRE followed up with Capital Commercial on April 3, 2019, with

  another letter to Mr. North. In this letter, CBRE identified and attached the CBRE trademark,

  identified and attached the CBRE Trade Dress, and once again demanded that Capital Commercial

  cease its infringing activities—including use of its new logo and the “ccreflorida.com” domain

  name—placing Capital Commercial on notice of its federal and state law claims for trademark



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  infringement, trade dress infringement, and unfair competition. CBRE requested a response no

  later than April 16, 2019. The April 3, 2019 letter is attached hereto as Exhibit G.

         25.     Instead of responding or ceasing its unlawful activities, Capital Commercial altered

  its new website logo to read “CCREG”—utilizing the same font and green and white color

  scheme—shortly after CBRE sent the April 3, 2019 letter.

                                           Harm to CBRE

         26.     Real estate consumers’ longstanding association of the CBRE trademarks and

  Trade Dress with CBRE will likely be substantially diminished and eroded if Capital Commercial

  continues to use the CBRE trademarks and Trade Dress in connection with its competing services.

         27.     Capital Commercial’s activities have caused, and will continue to cause, confusion

  in the marketplace. On information and belief, real estate consumers have, for example, attributed

  Capital Commercial’s commercial real estate services to CBRE, causing a range of damages

  including the deprivation of CBRE’s right to control the reputation associated with the CBRE

  brand, marks, and trade dress. On information and belief, Capital Commercial intended this

  outcome when it recently discarded its longstanding blue and white logo to adopt a strikingly

  similar logo to the CBRE trademarks and Trade Dress in order to target CBRE’s commercial real

  estate customers.

         28.     Capital Commercial’s infringement has been, and continues to be, willful. At a

  minimum, on information and belief, Capital Commercial deliberately adopted its new mark and

  website design for the purpose of confusing the relevant marketplace into associating its services

  with that of CBRE. Moreover, Capital Commercial continues to market those services in an

  infringing manner despite having been put on notice of the CBRE trademarks and trade dress and

  Capital Commercial’s infringement of the same.



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         29.     Capital Commercial’s actions have caused irreparable harm to CBRE for which

  money damages and other remedies are inadequate. Unless Capital Commercial is restrained by

  this Court, it will continue to cause irreparable damages and injury to CBRE, including by:

                     a. Depriving CBRE of its statutory rights to use and control the CBRE

                         trademarks and Trade Dress;

                     b. Creating a likelihood of confusion, mistake, and deception among

                         consumers as to the source of the infringing services, including those in

                         connection with commercial real estate and/or financial services;

                     c. Causing the public to falsely associate CBRE with Capital Commercial

                         and/or its services, or vice versa;

                     d. Causing irreparable and incalculable damage to CBRE’s goodwill and the

                         CBRE trademark and Trade Dress by creating negative associations with

                         Capital Commercial’s inferior services;

                     e. Causing CBRE to lose revenue associated with the services offered under

                         the authentic CBRE trademarks and Trade Dress; and

                     f. Causing Capital Commercial to capture profits and goodwill from the

                         CBRE trademarks and trade dress by exploiting these marks to the detriment

                         of the deceived consumers.

         Accordingly, in addition to damages and recovery of Capital Commercial’s profits, CBRE

  is entitled to injunctive relief against Capital Commercial.




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                                                COUNT I
                                Infringement of Registered Trademarks
                                     in Violation of 15 U.S.C. § 1114

          30.     CBRE incorporates by reference the allegations set forth in paragraphs 1 through

  29 as if fully set forth herein.

          31.     CBRE is the owner of the CBRE trademarks described above. The registrations are

  prima facie evidence of CBRE’s ownership of, and the validity of, the marks in the United States.

          32.     Capital Commercial has used, in connection with the sale, offering for sale,

  distribution, and advertising of its commercial real estate services, words and symbols that infringe

  upon CBRE’s registered trademarks.

          33.     Capital Commercial’s use of the registered CBRE trademarks in connection with

  its commercial real estate services creates a likelihood of consumer confusion that Capital

  Commercial is authorized to provide CBRE services, when it is not.

          34.     These acts of trademark infringement have been committed deliberately, willfully,

  and wantonly with intent to cause confusion, mistake, or deception.

          35.     As a direct and proximate result of Capital Commercial’s conduct, CBRE is entitled

  to recover up to treble the amount of Capital Commercial’s unlawful profits and CBRE’s damages,

  and an award of attorneys’ fees under 15 U.S.C. § 1117(a).

          36.     Both CBRE and the public will suffer irreparable harm if Capital Commercial’s

  infringement continues. Accordingly, CBRE is entitled to injunctive relief pursuant to 15 U.S.C.

  § 1116(a) that requires Capital Commercial to stop using CBRE’s registered trademarks in

  connection with real estate and financial services, and to cease use of any other mark, design, or

  logo that creates likely confusion that Capital Commercial is authorized to provide CBRE branded

  services, or that there is any affiliation between CBRE and Capital Commercial.



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                                             COUNT II
                           Trade Dress Infringement and False Designation
                                 of Origin Under 15 U.S.C. § 1125(a)

          37.     CBRE incorporates by reference the allegations set forth in paragraphs 1 through

  36 as if fully set forth herein.

          38.     CBRE’s Trade Dress, including the CBRE logos and website identified above with

  their particular font and color schemes, are highly distinctive, and continue to acquire substantial

  distinctiveness and goodwill in the marketplace through CBRE’s widespread and continuous use

  of that Trade Dress in commerce. As a result of CBRE’s widespread and continuous use of the

  CBRE Trade Dress, the CBRE Trade Dress has become associated with CBRE in the minds of the

  relevant purchasing public.

          39.     Capital Commercial’s new logos and website design, including the font and website

  color schemes identified above, has caused, and is likely to continue to cause, confusion in the

  minds of the consuming public, leading consumers to falsely believe that the Capital Commercial

  services are associated with CBRE or otherwise authorized by CBRE.

          40.     Capital Commercial’s adoption and use of the infringing trade dress has exploited,

  and continues to exploit, the goodwill and reputation associated with the CBRE Trade Dress.

          41.     These acts of trade dress infringement have been committed deliberately, willfully,

  and wantonly with intent to cause confusion, mistake, or deception.

          42.     As a direct and proximate result of Capital Commercial’s conduct, CBRE is entitled

  to recover up to treble the amount of Capital Commercial’s unlawful profits and CBRE’s damages,

  and an award of attorney’s fees under 15 U.S.C. § 1117(a).

          43.     Both CBRE and the public will suffer irreparable harm if Capital Commercial’s

  infringement continues. Accordingly, CBRE is entitled to injunctive relief pursuant to 15 U.S.C.



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  § 1116(a) that requires Capital Commercial to stop using CBRE’s Trade Dress in connection with

  real estate and financial services, and to cease use of any other mark, design, or logo that creates

  likely confusion that Capital Commercial is authorized to provide CBRE branded services, or that

  there is any affiliation between CBRE and Capital Commercial.

                                            COUNT III
                          Cybersquating in Violation of 15 U.S.C. § 1125(d)

          44.     CBRE incorporates by reference the allegations set forth in paragraphs 1 through

  43 as if fully set forth herein.

          45.     Capital Commercial has registered, is using, and is trafficking in the domain name

  identified in Paragraph 21 above.

          46.     The domain name identified in Paragraph 21 is confusingly similar to the CBRE

  trademarks.

          47.     CBRE’s rights in the CBRE trademarks long predate Capital Commercial’s

  registration of this domain name.

          48.     Capital Commercial is using this domain name with bad faith intent to trade off of

  the goodwill and profit from the CBRE trademarks.

          49.     As a direct and proximate result of Capital Commercial’s conduct, CBRE is entitled

  to recover up to treble the amount of Capital Commercial’s unlawful profits and CBRE’s damages,

  and an award of attorney’s fees under 15 U.S.C. § 1117(a).

          50.     Both CBRE and the public will suffer irreparable harm if Capital Commercial’s use

  of this domain name continues. Accordingly, CBRE is entitled to injunctive relief pursuant to 15

  U.S.C. § 1116(a) requiring Capital Commercial to stop using the domain name identified in

  Paragraph 21 in connection with real estate and financial services, and to cease use of any other




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  domain name that creates likely confusion that Capital Commercial is authorized to provide CBRE

  branded services, or that there is any affiliation between CBRE and Capital Commercial.

                                      COUNT IV
                     Common Law Trademark and Trade Dress Infringement

          51.     CBRE incorporates by reference the allegations set forth in paragraphs 1 through

  50 as if fully set forth herein.

          52.     CBRE possesses significant rights in the CBRE trademarks and Trade Dress under

  common law in the state of Florida and throughout the United States as a result of its widespread

  and continuous use of the CBRE trademarks and Trade Dress in connection with commercial real

  estate and financial services offered in this state and elsewhere.

          53.     As a result of CBRE’s widespread and continuous use of the CBRE trademarks and

  Trade Dress in the state of Florida and elsewhere, the CBRE trademarks and Trade Dress has

  become associated in the minds of the relevant consuming public with CBRE.

          54.     Capital Commercials’ unauthorized use of its marks has caused and is likely to

  cause confusion as to Capital Commercial’s affiliation with CBRE, to the detriment of CBRE.

          55.     Capital Commercial’s unlawful conduct as set forth herein has and continues to be

  willful, deliberate, and in bad faith.

          56.     Capital Commercial’s acts have caused and, unless and until such acts are restrained

  and enjoined by this Court, will continue to cause irreparable injury to CBRE.

          57.     CBRE has no adequate remedy at law for the wrongful acts of Capital Commercial.

                                              COUNT V
                                     Common Law Unfair Competition

          58.     CBRE incorporates by reference the allegations set forth in paragraphs 1 through

  57 as if fully set forth herein.



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          59.     Capital Commercial’s use of CBRE’s trademarks and Trade Dress is being done

  with the intent to palm off Capital Commercial’s services as originating or emanating from, or

  having an affiliation to, CBRE, in order to trade on the goodwill created by CBRE in its trademarks

  and Trade Dress. Such unauthorized use constitutes the common law tort of unfair competition.

          60.     Capital Commercial’s unlawful conduct as set forth herein has and continues to be

  willful, deliberate, and in bad faith.

          61.     Capital Commercial’s acts have caused and, unless and until such acts are restrained

  and enjoined by this Court, will continue to cause irreparable injury to CBRE.

          62.     CBRE has no adequate remedy at law for the wrongful acts of Capital Commercial.

                                              COUNT VI
                                 Deceptive and Unfair Trade Practices
                                   Under Fla. Stat. § 501.201 et seq.

          63.     CBRE incorporates by reference the allegations set forth in paragraphs 1 through

  62 as if fully set forth herein.

          64.     Capital Commercial’s acts described in this Complaint constitute unfair methods of

  competition, unconscionable acts and practices, and unfair and deceptive acts and practices in the

  conduct of trade and commerce, as prohibited by Fla. Stat. § 501.204(1).

          65.     Capital Commercial’s use of the infringing Capital Commercial marks has caused,

  and will continue to cause, confusion or misunderstanding as to the source, sponsorships, or

  approval of Capital Commercial’s services.

          66.     The relevant consuming public is likely to be confused as to whether Capital

  Commercial’s services are affiliated with CBRE. This conduct has, and will continue to have, an

  adverse effect on CBRE and on members of the public because Capital Commercial’s conduct




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  wrongly suggests an affiliation or business relationship between Capital Commercial and CBRE

  that does not exist.

         67.       Capital Commercial’s unlawful conduct as set forth herein has and continues to be

  willful, deliberate, and in bad faith. As described above, Capital commercial knew or should have

  known that its conduct was unfair or deceptive or prohibited by this rule.

         68.       CBRE and the general public have been, and continue to be, irreparably damaged

  by the violation of this statute, and CBRE has no adequate remedy at law. Unless enjoined by this

  Court, Capital Commercial will continue to use the infringing Capital Commercial marks to further

  injure CBRE and the relevant consumers.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays that judgment be entered in its favor and against the

  Defendant as follows:

         1.        Adjudge that the CBRE trademarks have been infringed by Capital Commercial in

  violation of Plaintiff’s rights under 15 U.S.C. § 114;

         2.        Adjudge that the CBRE Trade Dress has been infringed by Capital Commercial,

  and that Capital Commercial has falsely designated the sources of its services, in violation of 15

  U.S.C. § 1125(a);

         3.        Adjudge that Capital Commercial has engaged in cybersquatting by using the

  above-identified domain name in violation of 15 U.S.C. § 1125(d).

         4.        Adjudge that Plaintiff’s common law rights in the CBRE trademarks and Trade

  Dress has been infringed;

         5.        Adjudge that the CBRE Trade Dress has been infringed in violation of Florida

  statutory law;



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          6.     Adjudge that Capital Commercial has engaged in deceptive trade practices and

  competed unfairly with Plaintiff in violation of Plaintiff’s common law rights and Florida statutory

  law;

          7.     Adjudge that Capital Commercial and its agents, employees, attorneys, successors,

  assigns, affiliates, and joint venturers, and any persons in active concert or participation with it,

  and/or any person acting on behalf of it, be preliminary and permanently enjoined and restrained

  from:

                 a.      Selling, offering for sale, advertising, or promoting any services that copy

  or display any words or symbols that so resemble CBRE’s trademarks and Trade Dress as to be

  likely to cause confusion, mistake, or deception, on or in connection with any service that is not

  authorized by or for Plaintiff, including, without limitation, any service that (i) bears the CBRE

  trademarks, (ii) bears CBRE’s Trade Dress or any similar logo, or (iii) otherwise approximates

  Plaintiff’s trademarks or Trade Dress;

                 b.      Using any word, term, name, symbol, device, or combination that (i) causes

  or is likely to cause confusion, mistake, or deception as to the affiliation or association of Capital

  Commercial or its services with Plaintiff, or as to the origin of Capital Commercial’s services, or

  (ii) contains any false designation of origin of Capital Commercial’s services;

                 c.      Competing unfairly with Plaintiff in any manner; or

                 d.      Continuing to perform in any manner whatsoever any of the other acts

  complained of in this Complaint;

          8.     Adjudge that Plaintiff recover from Capital Commercial its damages and lost

  profits, and Capital Commercial’s profits, in an amount to be proven at trial;




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         9.      Adjudge that Capital Commercial, within thirty (30) days after service of the

  Court’s judgment, be required to file with this Court and serve upon CBRE’s counsel a written

  report under oath setting forth in detail the manner in which it has complied with the judgment

  pursuant to 15 U.S.C. § 1116(a);

         10.     Adjudge that Capital Commercial be required to account for any profits that are

  attributable to its unlawful acts, and that Plaintiff be awarded Capital Commercial’s profits and all

  damages sustained by Plaintiff under 15 U.S.C. § 1117, plus prejudgment interest;

         11.     Adjudge that the amounts awarded to Plaintiffs pursuant to 15 U.S.C. § 1117 shall

  be trebled;

         12.     Adjudge that Plaintiff is awarded statutory damages in amount to be determined by

  the Court pursuant to 15 U.S.C. § 1117(d);

         13.     Adjudge that Plaintiff is awarded its actual damages, plus attorney’s fees and court

  costs, pursuant to Fla. Stat. § 501.211(2);

         14.     Adjudge that, in accordance with the common law, Capital Commercial be

  obligated to pay Capital Commercial’s wrongful profits resulting from its aforesaid wrongful acts,

  CBRE’s actual damages, and exemplary and punitive damages in a sum sufficient to deter such

  wrongful acts in the future;

         15.     Adjudge that this is an exceptional case and that Plaintiff be awarded its costs and

  disbursements incurred in connection with this action, including Plaintiff’s reasonable attorneys’

  fees and investigative expenses; and

         16.     Adjudge that all such other relief be awarded to Plaintiff as this Court deems just

  and proper.




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                                  DEMAND FOR JURY TRIAL

        Plaintiff demands a trial by jury for all claims and issues so triable as a matter of right.




   Dated: May 15, 2019                               Respectfully submitted,

                                                     By:/s/ Eric Boos
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                                                     Attorneys for Plaintiff
                                                     CBRE, Inc.




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